Keith Grant

From:                             Linda Oxford <linda@eko.law>
Sent:                             Thursday, May 16, 2024 6:56 PM
To:                               danny@moorerader.com; Emily Taylor; lisa@hbm-lawfirm.com; Jon Lakey; Ben C. Allen;
                                  Keith Grant; Aaron Wells; Laura Beth; kberexa@fbb.law; Jessica Dowd
Cc:                               Elizabeth Kramer; Kevin Osborne; Julie Erickson; Vanessa Baehr-Jones; Heather Collins;
                                  Erica Russell
Subject:                          B.P., et al. v. Johnson City, et al: Subpoenas
Attachments:                      24.05.16 Appalachian Subpoena.pdf; 24.05.16 Eastman Subpoena.pdf; 24.05.16
                                  Accounting Solutions.pdf; 24.05.16 Northeast Subpoena.pdf


Dear counsel:
Please see the attached subpoenas Plaintiffs' counsel intends on serving by certified mail tomorrow.

Thank you.

LINDA OXFORD
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